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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

 JANE DOES 1-6, JOHN DOES 1-3, JACK
 DOES 1-1000, JOAN DOES, 1-1000,

                                  Plaintiffs,

 v.                                                        CIVIL ACTION
                                                           Docket No: 1:21-cv-00242
 JANET T. MILLS, in her official capacity as
 Governor of the State of Maine, et al.

                                  Defendants.


                  AGREED-UPON AMENDMENT TO PROTECTIVE ORDER

           With the agreement of the parties, the Court hereby amends the Agreed-Upon Protective

Order dated September 2, 2021, Doc. 36 (the Order), as follows:

           By 1:00 pm EST on December 17, 2021, counsel of record for the State Defendants shall

disclose to counsel of record for the Provider Defendants all Identifying Information as that term

is defined in the Order. Counsel of record for the Provider Defendants may disclose Identifying

Information to the law partners, associates and persons employed in their respective offices, and

to Provider Defendants’ in-house counsel and staff. Counsel of record and In-house counsel at

each of the Provider Defendants may also disclose the Identifying Information to employees who

they determine are reasonably necessary to assist with the defense of Plaintiffs’ claims, and to any

expert witnesses or third party agents engaged for purposes of assisting with the defense of

Plaintiffs’ claims. Each person, other than Provider Defendants’ counsel of record, to whom any

Identifying Information is to be disclosed pursuant to this Order shall be provided a copy of this

Order and shall agree in advance that he or she will not disclose any Identifying Information to

any person not entitled to know the information under this Order, and that he or she will not use

any Identifying Information except in connection with the defense of Plaintiffs’ claims.

           State Defendants’ counsel of record may disclose the Identifying Information to attorneys

and staff employed by the Office of the Attorney General; the individual State Defendants; State

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Defendants’ in-house counsel and their attorneys and staff; and State employees who State

Defendants’ counsel of record determine are reasonably necessary to assist with the defense of

Plaintiffs’ claims, and to any expert witnesses or third party agents engaged for purposes of

assisting with the defense of Plaintiffs’ claims. Each person, other than State Defendants’ counsel

of record, to whom any Identifying Information is to be disclosed pursuant to this Order shall be

provided a copy of this Order and shall agree in advance that he or she will not disclose any

Identifying Information to any person not entitled to know the information under this Order, and

that he or she will not use any Identifying Information except in connection with the defense of

Plaintiffs’ claims.

        If any party’s filings contain any Identifying Information, they shall file those documents

under seal, in keeping with the Court’s Local Rules.

        The obligation to disclose Identifying Information shall be deemed a continuing obligation

of Plaintiffs’ counsel, which shall include disclosure of any new or additional information not

initially disclosed to State Defendants’ counsel of record.

        To the extent not amended by the foregoing, the Order shall remain in effect until further

order of this Court.



        SO ORDERED.

        Dated: December 14, 2021

                                                                  /s/ Jon D. Levy
                                                              CHIEF U.S. DISTRICT JUDGE




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